37 F.3d 1484NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.
    John YATES, Plaintiff, Appellant,v.Michael A. GAWEL, Defendant, Appellee.
    No. 94-1660.
    United States Court of Appeals,First Circuit.
    Oct. 13, 1994.
    
      Appeal from the United States District Court for the District of Rhode Island
      Arthur E. Chatfield, III on brief for appellant.
      Marc DeSisto and Kathleen Powers, on brief for appellee.
      D.R.I.
      AFFIRMED.
      Before Cyr, Circuit Judge, Bownes, Senior Circuit Judge, and Stahl, Circuit Judge.
      PER CURIAM.
    
    
      1
      Appellant John Yates appeals the granting of judgment as a matter of law to appellee Officer Michael Gawel of the Foster Police Department on appellant's claims of civil rights violations, due to appellee's alleged malicious prosecution and false arrest of appellant, and appellant's state law claim of malicious prosecution.  We affirm.
    
    
      2
      Judgment as a matter of law was properly granted on appellant's claim for malicious prosecution under 42 U.S.C. Sec. 1983 because appellant failed to show that he had suffered a deprivation of either his substantive or procedural due process rights under the Fourteenth Amendment.   See Senra v. Cunningham, 9 F.3d 168, 173 (1st Cir. 1993).  Appellant produced no evidence, such as that he had been physically abused, detained or prosecuted on racial or political grounds, which would support a jury finding that he had suffered a substantive due process violation.1  See id.  His failure to demonstrate that the Rhode Island state law remedy for malicious prosecution was inadequate to rectify any harm he might have suffered is fatal to his procedural due process claim.  Id.
    
    
      3
      To establish a claim of malicious prosecution under Rhode Island state law, appellant needed to prove, inter alia, that Officer Gawel lacked probable cause to initiate a criminal proceeding against him.   Id. at 174.  Such a finding was precluded in the instant case, by the fact that appellant had previously been found guilty of the criminal charge in question after trial in the Rhode Island District Court.  Even though this verdict was reversed after a jury trial in the Rhode Island Superior Court, the determination by the Rhode Island District Court is nevertheless determinative on the issue of probable cause under Rhode Island law.   See Nagy v. McBurney, 120 R.I. 925, 931, 392 A.2d 365, 368 (1978) ("a judicial determination by a court of original jurisdiction in favor of the person who initiated ... proceedings is generally held to be conclusive evidence of probable cause, even though that determination is ultimately reversed on appeal, unless it is shown to have been obtained by fraud or other imposition upon the court") (citing cases).
    
    
      4
      Finally, Gawel presented sufficient, uncontradicted evidence to demonstrate that he had a reasonable belief that probable cause existed to arrest appellant.  Therefore, Gawel was entitled as a matter of law to qualified immunity from the claim that he had violated appellant's civil rights through a false arrest.   See Ricci v. Urso, 974 F.2d 5, 7 (1st Cir. 1992).
    
    
      5
      Affirmed.
    
    
      
        1
         Moreover, the recent Supreme Court case of  Albright v. Oliver, 114 S.Ct. 807 (1994), "would appear virtually to foreclose reliance on substantive due process as the basis for a viable malicious prosecution claim under section 1983."   Perez-Ruiz v. Crespo-Guillen, 25 F.3d 40, 42 (1st Cir. 1994)
      
    
    